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 8                                UNITED STATES DISTRICT COURT

 9                           EASTERN DISTRICT OF CALIFORNIA

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     SHELLY J. IOANE, et al.,                           Case No. 1:07-cv-00620-AWI-EPG
11
                    Plaintiffs,                         ORDER GRANTING IN PART MOTION
12                                                      TO COMPEL; EXTENDING NON-
                                                        EXPERT DISCOVERY DEADLINE;
13   v.                                                 DENYING MOTION FOR SANCTIONS

14   JEAN NOLL, et al.,                                 (ECF Nos. 536, 537, 540)

15                  Defendants.
16

17         On June 19, 2020, the Court held a hearing on the motion to compel filed by defendant

18   Jean Noll (“Defendant”). (ECF Nos. 536, 537.) At this hearing, the Court also addressed the

19   motion for sanctions filed by Shelly Ioane (“Plaintiff”). (ECF No. 540.) For the reasons

20   discussed during that conference,

21         IT IS ORDERED that:

22         1. Defendant’s motion to compel (ECF No. 536) is GRANTED in part.

23            a. As to Defendant’s Interrogatory No. 20:

24                i. Plaintiff shall provide, no later than July 10, 2020, a supplemental written

25                    response regarding the portion of Defendant’s Interrogatory No. 20 that

26                    requests Plaintiff to “identify each instance, with particularity, where your

27                    alleged distress or trauma resulted in loss (financial or otherwise), expense, or

28                    other kinds types of purported damage.”


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 1         ii. Plaintiff shall participate in an additional deposition with such deposition

 2             subject to the following conditions:

 3             a)   The deposition shall be held between July 15, 2020, and August 7, 2020.

 4             b)   The deposition shall be no longer than three (3) hours on the record, not

 5                  including any conferences with the Court to resolve any objections.

 6             c)   The subject matter of the deposition shall be limited to damages

 7                  information either regarding events following the date of Plaintiff’s last

 8                  deposition or additional details regarding the disclosure that was made in

 9                  Plaintiff’s June 1, 2020, supplemental response to Defendant’s

10                  Interrogatory No. 20.

11             d)   The deposition shall be a video deposition taken by remote means under

12                  Federal Rule of Civil Procedure 30(b)(4). The parties are directed to

13                  meet and confer regarding the precise method of video means to be used

14                  for the remote video deposition.

15             e)   If, during the deposition, a dispute arises, the parties may reach out to

16                  the Court and the undersigned, if available, will resolve the dispute. If

17                  the parties would like to ensure that the undersigned is available on the

18                  day of the deposition, the parties may reach out to Courtroom Deputy

19                  Michelle Rooney to confirm whether the undersigned is scheduled to be

20                  in chambers on the day the deposition is scheduled to occur.

21      b. As to Defendant’s Interrogatory No. 18:

22          i. No later than July 10, 2020, Plaintiff shall provide a written supplement that

23              either provides any additional names and contact information for individuals

24              who may have discoverable information and who have not previously been

25              disclosed by Plaintiff or state that there are no additional names that have not

26              been previously disclosed.

27          ii. No later than July 10, 2020, Plaintiff shall provide the home address of

28              Michael Ioane Jr., Mrs. Ioane’s son, or state that Plaintiff does not have that


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 1                         information.

 2              c. The non-expert discovery cutoff is extended in so far as Defendant is granted

 3                 leave to take the depositions of any individual who is listed in Plaintiff’s

 4                 June 1, 2020 supplemental response to Defendant’s Interrogatory No. 18 or in the

 5                 supplemental response to Interrogatory No. 18 required by this order, and who

 6                 was not previously disclosed by Plaintiff in a Federal Rule of Civil Procedure 26

 7                 disclosure.

 8                    i.     Any such deposition shall not exceed three (3) hours in length.

 9                    ii.    Discovery cutoff for these depositions is October 9, 2020.

10                    iii. Plaintiff and her counsel are precluded from raising any further objections

11                           to these depositions. During the depositions, Plaintiff’s counsel may make

12                           objections on the record on behalf of Plaintiff but may not raise objections

13                           on behalf of the witnesses.

14          2. Plaintiff’s Motion for Sanctions (ECF No. 540) is DENIED.

15          3. Defendant’s request for costs and fees under Federal Rule of Civil Procedure

16               37(a)(5)(A) is DENIED.

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     IT IS SO ORDERED.
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19     Dated:     June 19, 2020                                 /s/
                                                           UNITED STATES MAGISTRATE JUDGE
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